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Drug Firms’ Payments and Physicians’ Prescribing
Behavior in Medicare Part D

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February 2020

Abstract

In a pervasive but controversial practice, drag firms frequently make monetary or
in-kind payments to physicians in the course of promoting prescription drugs. We use
« federal database on the universe of such interactions between 2013 and 2016 linked
to prescribing behavior in Medicare Part D. We account for the targeting of payments
with fixed effects for each physicien-drug combination. In an event study, we show
that physiciaas increase prescribing of drugs for which they receive payments in the
months just after payment receipt, with no evidence of differential trends between
paid and unpaid physicians prior to the payment. Using hand-collected efficacy data
on three major therapeutic classes, we show that those receiving payments prescribe
lower-quality drugs following payment receipt, although the magnitude is small and
wulikely to be clinically significant. In addition, we examine five cage studies of major
drugs going off patent. Physicians receiving payments from the firms experiencing the
patent expiry transition their patients juat as quickly to generics as physicians who do
not receive such payments,

JEL codes: 111 (Analysis of Health Care Markets); L15 (Information and Product
Quality); D&3 Gearch; Learning) °

“We are grateful for helpful comments from Judy Hellerstein, Seth Freedman, Sean Nicholson, Ashley
Swanson, Benedic Ippolito, Thay Nguyen, and seminar participants at Harvard University, Cornell Uaiver-
sity, University of Michigan, Duke University, Johns Hopkins University, University of Maryland, the 2020
American Economic Association meetings, the 2015 International Health Economics Association mestings,
the 2015 American Health Economics Conference, the 2016 Association for Public Policy Analysis and Man-
agement Annual Mesting. Anup Das provided excellent research assistance. Colleen Carey acknowledges
the finoncial support of the Robert Wood Johnsou Foundation.

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1 Tatroduction

More than 85 percent of drug firms’ marketing expenditures are targeted at influencing physi-
clang as the key prescribing decision-maker (Pew Charitable Trust, 2013). Such marketing
expenditures include face-to-face “detailing” visita from pharmaceutical sales representatives
that commonly involve purchases of food and beverage for physicians, as well as high-dollar
speaking fees or travel reimbursements. ‘These nancial interactions are commonly thought
to distort physician's prescribing decisions; Consumer Reports declares that “a major con-
flict of interest is at work when a physician has accepted payrnents from a drug company
whose products he or she then prescribes” (Consumer Reports, 2014). However, the fact that
drug firms target payments at physicians who are ez ante most likely to prescribe the drug
makes it difficult to establish the causal effect of payments. In acldition, even if payments
influence a physician’s behavior, it is an empirical question whether patients’ outcomes are
helped or harmed. Defenders of the practice argue that payments facilitate education. on a.
fast-changing evidence base: “Pharma reps provide thmely access to balanced, FDA-approved
research and information. This ‘delivery mechanism’ organically complements and reinforces
the information they receive from medical journals and conferences” (Flewell, 2006).

In this paper, we use rich microdata to evaluate how financial interactions between drug
firms and physicians affect prescribing outcomes such as expenditures, the number of patients
taking the drug, transitions to generic yeraions of branded drugs, and the quality of prescribed
drugs. Our analysis links the Open Payments dataseb—the universe of monetary or in-kind
payments that drug firms made to physicians between 2013 and 2015-—to prescription data
for a large panel of Medicare Paxt D enrollees. We examine prescribing behavior at the
monthly level to identify abrupt changes in a physician's prescribing of a drug that ocaur
right after a. physician receives # payment related to that drug. This “event study” approach
permits physician by drug fixed. effects, allowing us to overcome the empirical challenge that
physicians who receive payments tend to be ex ante higher-volume physicians than those whe
do not. Our approach also allows us to examine the trends of paid and unpaid physicians
prior to the payment’s receipt and to confirm that paid physicians are not on different
trends prior to the payment, and that they diverge in their prescribing behavior only after
the payment is received, These patterna support the claim thet our analysis captures the
causal impact of payments on prescribing behaviors.

We find that over the years 2013-2015, more then one-fifth of branded expenditure in
Part D comes from a physician who has recently received a payment for the drug, and 29
percent of Part D physicians are paid for at least one drug over the sample period. If the
payments have substantial causal impacts on prescribing behavior, the prevalence of the

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practice implies that the financial impacts are economically large.

In our primary specification, we find that paid and unpaid physicians are trending simi-
larly prior to receiving a payment. However, beginning in the month the payment is received,
paid physicians increase the number of patients taking the drug for which they received a
payment and increase the total amount of expenditures on that drug. Our results suggest
that a single payment raises expenditures on the paying drug! by $121 during the first: year,
or 4 percent, with effects peaking approximately six mouths after the payment is made and
declining after that. Scaling up this effect to the full prescription drug market, and dividing
through by the best-available estimates of the cost of the marginal visit to a. doctor, we find
that drug firms can expect $2.64 in returns for another dollar spent in these marketing ef-
forts. Although large, this is considerably smaller than existing estimates (Narayanan et al.,
2004; Schwartz and Woloshin, 2019).

We next explore heterogeneity by type of payment and market structure. Firstly, we
characterize payments by the type and dollar value. The majority of payments are an in-
kind meal, while others signify s deeper relationship, e.g. fees for speaking or conducting
continuing medical education. Bighty percent of payments are less than $20. We find that
our overall effects are driven by food payments and low-dollar payments. We alse show how
the impact of a drug’s payment varies with its competitive setting. If a doctor receives a,
payment, from two drugs in the same therapeutic class, the second payment partially offsets
the impact of the first payment. In addition, we show that payments have a higher eatimated
impact in therapeutic classes with five or fewer drugs making payments as compared to all
classes.

We conduct two exercises to assess the impact of these payments not only on prescrib-
ing behavior, but on welfare-relevant quality outcomes. Payments from drug firms may
increase expenditures without decreasing patient well-being if these payments also improve
the quality of the drug prescribed. We use hand-collected data on drug efficacy for three
major therapeutic classes where there is 4 common and well-defined clinical endpoint for
drug therapy. For each therapeutic class, we obtain a unidimensional eflicacy measurement
for every molecule from the medical literature. Using this drug quality measure, we find
that paid and non-paid physicians prescribe drugs of a similar quality prior to receiving a
payment, but that relative drug quality falls among drugs prescribed by paid physicians after
the payment. Although these reductiong in drug quality are statistically significant, they are
very small; our confidence intervals allow us to rule out reductions in drug efficacy larger
than about 1/100th of a standard deviation. Thus, we conclude that, on average, there are

Por ease of exposttion, we desertbe instances in which a firm makes a payment to a physician related to
a particular drug as the drug “paying” the physician.
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no clinically meaningful changes in prescribing quality.

As a second evaluation. of prescribing quality, we examine five case studies in which a
inajor drug went off patent. If paid physicians do not transition their patients to a generic
version of a drug following « patent expiry, this behavior would financially reward the drug
firms and increase patients’ cost-sharing, suggesting the physicians are poor agents for their
patients. We find that paid physicians move patients just as quickly to the generic version
of the drug as unpaid physicians, contradicting some media reports (e.g. Gold, 2001). At
the same time, we observe that paid physicians also tend to switch patients to the (stil)
patent protected) extended release version of a molecule that has lost patent protection.
Extended release versions commonly cost substantially more but only improve on the original
version iu convenience. ‘Taken together, we find that payments to physicians do not impede
the transition to generics in the general case, but can help a drug firm implement a “line
extension” with potentially low benefits for patients.

Our paper contributes to the literature that explores whether pharmaceutical detailing
affects the quantity and cost of physicians’ prescribing. The majority of past work in the
medical literature has found a positive relationship between a physician’s exposure to phar-
maceutical companies’ sales representatives and the quantity and cost of prescribed drugs.
However, most of these atuclies have not addressed the selection of payments to physicians” or
are studying the impacts of other types of pharmaceutical firm marketing (Adair and Helm-
gren, 2005; Dolovich et al., 1999; Freemantle et al., 2000). Some recent analyses in economics
and marketing have used longitudinal data to explore the effect of payments on prescribing,
but are limited to a small number of drugs (e.g. Mizik and Jacobson, 2004. Datta and Dave,
2017; Grennan et al., 2018; Agha and Zeltzer, 2019). Grennan et al. (2018) use variation in
hospitals’ policies that ban pharmaceutical sales representatives from the premises and find
that a meal inereases cardiologists’ preseribing of detailed statins by roughly 70 percent.
Shapiro (2018a) and Agha and Zeltzer (2019) use Sxed-effect approaches similar to ours
and find that a detailing visit increases prescribing of an antipsychotic by 14 percent in the
following twelve months* and that small payments increase prescribing of blood thinners by

2See Spurling et al. (2010) and Henry (2010) for a review and discussion of the medical literatuxe on this
topic. Overall, the review concludes that “the limitations of studies reported im the literature meationed
above mean that we ate unable to reach any definitive conclusions about the degree to which information
from pharmaceutical companies increases, decreases, or has. no effect on the frequency, cost, or quality of
prescribing" (Spurling et al., 2010, p. 13.

8*The estimates from Shapiro (2018a) are not immediately comparable to ours. He assumes that a
detailing visit adds to a detailing stock that depreciates over time. We convert his estimates to a year-long
percentage increase in prescribing as follows. We compute the implied increase in prescriptions over & ane
year period and then divide by average prescribing in a year. Mathematically, this is Setae.l where J = 0.6
is the apeed at which the detailing stock depreciates, § = 0.1224 is the estimated impact of a unit increase
in the detailing stock on total prescriptions in a month (from his Table 6), and "Ro: = 5.194 is the average
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approximately 10 percent, respectively.‘

We contribute to this literature in three ways. First, we exploit the detailed timing of
payments to address concerns about selection of payments to physicians. Second, we estimate
the impacts of detailing for all drugs that pharmaceutical firms were promoting, rather than
focusing on a single drug or drug class. By examining the universe of drugs, we are able to
improve on the external validity of estimates based on a narrow set of drugs and establish
new descriptive facts about the prevalence of detailing in the Part D market overall, And
third, because it is becoming increasingly difficult for sales representatives to gain access to
physicians,” past estimates of detailing’s effects may no longer reflect its current, impacts.
Our estimates are based on the immediate past and so may better reflect detailing’s changing
influence. To our knowledge, this is the first paper that shows the trajectory of prescribing
behavior for physicians before and after a payment, for all detailed drugs, in a recent time
period.

Our paper also contributes to the literature assessing whether payments from pharma-
ceutical firms affect the quatity of physicians’ prescribing. Past work has used a number of
different measures of prescribing quality: reviews of prescribing by other physicians (Becker
et al., 1972; Haayer, 1982), the variance in the number of prescriptions a particular physician
made (de Bakker et al., 2007), and adherence to certain treatment guidelines (Muijrers et al.,
2005).° These analyses have tended to find that physicians who had greater interaction with
pharmaceutical sales representatives had lower quality prescribing. Our results coraplement
this literature by addressing the selection of payments to physicians and using a clinical
rneasure of quality. Our results using patent expirations also contribute to this literature
by showing how a sharp change in benefits to patients differentially affects paid and unpaid
physicians’ choices."

yearly prescriptions (twelve times the 6.427 monthly average from Table 2).

‘Migik and Jacobson (2004) use a fixed-ellect approach to study the impact of detailing on new prescrip-
tions for three different drugs. Their estimates suggest that detailing increases new prescriptions by between
3.6 percent and 11.8 percent over s six month. horizon.

'For example, a growing number of academic medical centers forbid pharmaceutical sales representatives
from visiting physicians on their campuses (Larkin ef al, 2017).

“The impacts of information from the goverament (Soumeral et al, LOST), “dear doctor” letters (Kazmier-
ezak and Coley, 1907), the presentation of information during grand rounds (Spingarn ot al., 1996), and being
invalved in a clinical trial (Andersen ot al, 2006) on similar measures of quality have also been explored
with mixed results,

“Our results on quality are also related to a long literature In marketing that models physician learning
about drugs via detailing or other sources in a Bayesian framework (e.g. Narayanan et al., 2005; Narayanan
and Manchanda, 2009; Ching and Ishibara, 2010, 2012; Chintegunta et al, 2012). This is discussed further
in Section 2.

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2 Background

According to Pew Charitable ‘Trusts, in 2012 pharmaceutical firms spent more than $27
billion in marketing with 85 percent of that sum spent on marketing direct to physicians
(Pew Charitable Trust, 9013). The three major categories of marketing to physicians are
face-to-face promotional activities ($15 billion), expenditures on. educational opportunities
for physicians such as conferences ($2.1 billion), and drug samples for physicians to distribute
to patients free of charge (imputed value of $5.7 billion). These expenditures are targeting
a population of approximately one million physicians. Given such large expenditures on
physician marketing, it is no surprise that relationships between drug firms and physicians
are commonplace (Campbell et al., 2007).

In the 2000s, there were a number of efforts to curb these physician-industry relationships
for fear that they influenced prescribing at the cost of patient welfare. For example, in 2008,
the Association of American Medical Colleges called on all academic medical centers to ban
acceptance of industry gifts by doctors, faculty, students, and residents (Sears, 2008). In
2007, Senator Chuck Grassley proposed the “Sunshine Act” to force drug firms to publicly
disclose interactiona with physicians and it passed as part of the Affordable Care Act in 2010.
As of August 1, 2013, all drug and medical device firms were compelled by the Sunshine Act
to start tracking these payments and were required to report them lor public release to the
Center for Medicare and Medicaid Services.

‘There is a long theoretical literature in economics about the varied impacts of advertis-
ing® The “persuasive” view goes back at least as far as Robinson (1933). She discusses
how advertising increases demand for a particular product, tending to increase prices and
reduce social welfare. On the other hand, proponents of the “information” view (beginning
with Stigler, 1961) outline how advertising notifies consumers of products’ existence, prices,
or other qualities. This information tends to increase welfare via reduced search costs and
inereased competition. Because the theories have opposing predictions, how pharmaceuti-
eal firme’ marketing affects the costs, quantity, and quality of prescribing is an empirical
question.

Past work from the medical literature has shown a positive association between receiving
a payment and awareness of the paying firm's drug, prescribing the firm’s drug, and adding
the firm’s drug to the hospital formulary (Wasena, 2000; Spurling et al., 2010). Although
these correlations are suggestive, they are not able to account for the fact that pharmaceu-
tical firms direct payments to physicians with patient populations moat likely to use the
drug. However, a small number of studies have estimated the impacts of pharmaceutical

SPor a thorough review of this literature, see Bagwell (2007).
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marketing on physicians’ behavior using randomized controlled trials or quasi-experimental
variation. In a study of 29 medical residents, Adair and Holmgren (2005) randomized letters
to half the residents that discouraged the use of free samples and found that the letters did
reduce residents’ use of samples. This suggests that the standard practice of firms providing
samples might affect physicians’ choices. Epstein and Ketcham (2014) randomly provide IT
to physicians that conveys information about patients’ cost-sharing for specific drugs, but
also reports the hassle costs of prescribing particular drugs (e.g. prior authorization). They
find that physicians’ choices are more influenced by hassle costs than they are by payments
from pharmaceutical sales representatives. Shapiro (2018b) and Sinkinson and Stare (2019)
use quasi-experimental designs to study the impacts of direct-to-consumer advertising on
prescribing with a focus on the market-expanding and business-stealing aapects of adver-
tising. While both studies find important market-expanding effects, Sinkinson and Stare
(2019) also find business-stealing effects. Ching and Ishihara (2012) exploit co-marketing
agreements to show that the informative and persuasive roles of advertising are important
in medical marketing.

"There ig also an extensive literature that models physician learning about the underlying
quality of a particular drug. Narayanan. et al. (2005) finds that medical marketing is pri-
marily informative for the first 6-14 months of a drug’s life and then primarily persuasive
thereafter. Chintagunta et al. (2009) and Chintagunta. et al, (2012) find that physicians
learn about drug quality from both pharmaceutical sales representatives and feedback from
patients. While these findings are very suggestive, they only indirectly speak to the qual-
ity of physicians’ prescribing since they are focused more on physician learning about the
underlying quality of a drug. Additional work has found that there are diminishing returns
to detailing (Manchanda and Chintagunta, 2004), that firms’ advertising decisions take ac-
count of how learning about drug quality affects the dynamics of price-sensitivity (Ching,
2010), that there is important heterogeneity across physicians in how much detailing affects
their prescribing (Janakiraman et al., 2008), and that historically, detailing tended to have
stronger business-stealing than market-expanding effects (Fischer and Albers, 2010}. The
data used in these studies is often from previous decades and focuses on very few drugs; be-
cause of the change in medical professionals’ attitudes towards industry interactions, there
could be important differences im the impacts of payments today.
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3 Data

3.1 Medicare Part D

We assess prescribing behavior using the prescription drug claims of a 20% random sample of
enrollees in Medicare Part D from 2013 through 2015; both enrollees in Medicare Advantage
Part D plans and free-standing Part D plans are included. Over the sample period, Medicare
Part D provided subsidized private insurance for outpatient prescription drugs to about 37
million elderly and disabled enrollees per year and represents approximately 30% of US
retail prescription drug expenditure (Kaiser Vamily Foundation, 2019). An advantage of
this dataset over a cornmercial claims dataset is that nearly all individuals continue in the
sample once enrolled, minimizing changes in the composition of a particular physician's
patient pool.

For each Part D claim, we observe the exact drug purchased (ingredients, strength,
drug form, brand/generic status, extended release if applicable), the date of the pharmacy
fill, the days supplied, the full drug price paid by the patient’s insurer to the deug firm
(prior to discounts or rebates) * and the National Provider Identifier of the prescriber.!° We
dofine a “drug” for the purposes of our analyses as au ingredient (or ingredient combination)
in either branded or generic status. We do not differentiate between prescriptions of the
same ingredients in different strengths (10mg, S0mg) or drug forms (oral, injectable), ‘This
definition reflects the level of specificity in the Open Payments database, which generally does
not distinguish between strengths and drug forms of the same ingredients. We do, however,
distinguish between the original and “extended release” formulation of a drug. Versions
of drugs with extended release properties may be introduced prior to patent expiry and.
are often promoted independently from the non-extended release version. Open Payments
commonly reports payments for both the original and extended release formulations of an
ingredient, so we consider these as distinct drugs and examine a case study of Namenda and
Namenda XR, in Section 5.2.

We observe 2,513 drugs over our sample period, of which one-quarter are branded drugs
that account for 60% of Part D expenditure. We acknowledge the competitive structure of

*Like most research in prescription drug markets, our measure of “expenditure” does not reflect post-
market rebates paid from drug firms back to insurers. The expenditures reported in Part D are closer to
“ist prices” announced for all drugs than the “net prices” that represent the true income to a drug firm.
According to au analysis by Milliman of rebates in Part D in 2016, rebates represented 22% of branded
expenditure (16% of all expenditure) in that year (Jolmson et al., 2018). We use number of patients as a. key
outcome that is not subject to this weakness, but focus on expenditure in order to facilitate our calculation
of drug firma’ returns from payments.

While some prescribers in Part D are non-physician nurse practiGioners or physician assistants, we
deserthe all prescribers as “physicians” in what follows.
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prescription drugs by assigning each drug to one of 159 therapeutic classes using the 2011
and 2014 Formulary Reference Guides provided to Medicare Part D plans. Drugs in the
same therapeutic class are not perfect substitutes, but there is rauch higher substitutability
within classes than between. them.

We aggregate these prescription drug claims to the physician x calendar month x drug
level, measuring the total pre-rebate expenditure incurred for that drug, the number of pa-
tients the physician treats with the drug, and total days supply consumed by those patients.
Our use of the month as our unit of time allows us to illustrate in our event-study design
the sharp change in behavior at the exact month of payments.

3.2 Open Payments

Our data on payments made by drug firms to physicians come from the Open Payments
database. Under the Affordable Care Act, drug firms must report to the Open Payments
database any payment or in-kind “transfer of value” they make to physicians. These trans-
fers of value include the meals, travel, and educational expenses that direct-to-physician
marketing activities commonly entail. Although the database does not record free samples,
the encounters recorded may involve the distribution of free samples. Open Payments sepa-
rately collects information on payments that drug firms make to physicians for paxticipation.
in clinical trials (“research payments”); however, these data. do not describe the drug being
researched and so we do not include them in this analysis. ‘The database contains information
beginning August 2013.

For each encounter between drug firms and medical professionals, Open Payments recorda
the individual’s name, address, and other identifying information, the drug or drugs dis-
cussed, the dollar arsount of in-kind or cash payments, and a coarse description of the
purpose of the encounter. We find the National Provider Identifier for each professional
named in Open Payments using the publicly-available National Plan and Provider Eaumer-
ation System. We refer to each encounter as a “payment.” We remove payments for
medical devices and Part B drugs, and for physicians who we never observe prescribing ary
drug in Part D. ‘The median payment is small, at about $10, reflecting the typical purpose
of the encounter (a meal). We will distinguish food payments from. all others. The non-food
payments are most commonly for continuing medical education, consulting, education, or
travel. There are very small numbers of payments described as gift, grant, honoraria, royalty,
entertainment, charity, or own investment.

In Figure 1, we show how the number and value of payments in each of the categories

When an encounter includes multiple drugs being promoted, we divide the total dollar value of the
payment equally among each of the promoted drugs.

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over the time period. The first column shows that more than 95% of the payments are for
food and about 5% are in the “other” category. However, the average encounter where there
is only a food payment represents about $16 of value, while the “other” category transfers
are much larger, averaging $1,239." ‘Thus, the second column in the figure shows that the
other payment types constitute the majority of the dollar value of payments.

"The next two columns in Figure 1 show the distribution of payments by amount. ‘The vast
majority of payments are less than $50, and about 80 percent are less than $20. However, the
rare, very large payments dominate the distribution by value. In our primary analysis, we
define our independent variable of interest as a binary indicator that a physician has received
a. payment, for a drug by that month. We consider payment size in a separate analysis.

Payments to st least one Part D physician are reported in Open Payments for 574 dis-
tinct Part D drugs in 128 of the 169 therapeutic classes. It ie clear that encounters with
physicians are a core part of marketing and promotion activities for prescription drugs over
the time period. For our main analyses, only drugs with at least some payments contribute
to identification in our empirical strategy. Consequently, we retain only drugs for which at
least one physician receives a payment.

Between 2013 and 2015, there are nearly four roillion payments, totaling almost one
billion dollars, related to the 574 distinct Part D drugs. We merge payments to a physician
for a. drug to the physician’s monthly prescribing history. In some cases, a Part D physician
receives a, payment for a drug that they never prescribe over the three years.) We retain
these payments, imputing zeroca for the physician's prescribing of the drug in all months, as
long as the physician ever prescribes in the drug's therapeutic class over the tine period. We
rectangularize the dataset to include an observation for every physician x drug corabination
in all 36 months, to facilitate our event study research design. The resulting dataset has
more than 446 million observations, reflecting 991,380 physicians’ prescribing of 574 drugs
for 36 months each.

3.3 Summary Statistics

Tt is common for Part D physicians to receive payments related to the drugs they prescribe.
In the first row of Table 1, we describe the prevalence of payments overall. Our sample of

12'The low average amount of food payments can reflect the Open Payments reporting rules for cases where
non-physician office stall and physicians both participate in a meal brought by a drug firm (Federal Register,
2013). If only front office staff consume the meal, drug firms are not required to report this interaction. Tf any
physicians eat the meal, the meal is apportioned equally among all participants (including non-physicians),
and then the physician’s portion is reported.

13Geme of these payments may arise due to scattershot marketing strategies, for example st medical
conferences, or efforts to slraply instill brand awareness.

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drugs with some payments, equal to 63 pereent of total Part D expenditure, captures 92
percent of overall Part D branded expenditure, implying the vast majority of branded drugs
are using direct-to-physician marketing captured by Open Payments. Of all expenditure on
drugs making payments, 21 percent has been “affected by payments,” in that the physician
has received a related payment prior to prescribing. By the end of the time period, more
than one-fifth (22 percent) of physician « drug combinations have a payment. Overall, 29%
of Part D physicians are paid for at least one drug over the sample period. Clearly, even. after
the required disclosure represented by Open Payments, drug firms are reaching substantial
numbers of physicians with thelr marketing efforts.

The next rows of Table 1 report the same statistics for the top twenty drugs by total
expenditure over the sample period. Together, these drugs account for nearly one-third of
all Part D expenditure. Payments are common across nearly all of these drugs, which span a
number of distinct indications and include both long-standing drugs (Crestor and Zetia) and
new entrants (Harvoni and Sovaldi).. The percent of expenditure that comes from physicians
who had received a related payment by the time of prescribing ranges from 2 percent for
Namenda to close to half for Humira and Xarelto. Generic competition was imminent for
both Namenda and Gleevec, which explains why payments were jess common for those drugs.
We examine generic onset during our sample period, including for Namenda, in Section 5.2.

We know, however, that drug firms commonly monitor physicians’ prescribing and specif-
jeally target high-volume physicians for payments (Fugh-Berman and Abari, 2007). Conse-
quently, our empirical strategy, detailed below, exploits variation within a physician x drug
combination over time. ‘To ensure we have a sufficient “pre period for each paid physician
x drug, we will exclude from our analysis in Section 4 physician x drug pairs whose first
observed payment occurs in. 2013. The last column of Table 1 describes the share of physi-
eians who are first paid in 2014 or 2015. The relationships described in Open Payments are
commonly ongoing frequent interactions, 80 on average about 40 percent of the physicians
who are ever paid got a payment in 2013.

Our research is unique in describing the universe of payments instead of focusing on @
single class. Thus, we are able to explore some dimensions of how competitive structure
affects the iuypact of payments. In heterogeneity analyses, we will explore how the impact
of payments varies by the number of drugs in a class making payments. Across the 128

therapeutic classes, we observe as few as one and as many as 26 different drugs making
payments to Part D physicians. In Figure 2, the x-axis counts the number of drugs in a
therapeutic class making payments. The y-axis measures, for drugs in each x-axis category,
the average share of expenditure where a physician has received a payment at the time of
prescribing (the same measure as the fourth column of Table 1). The size of the marker

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denotes the total expenditure represented. The two measures are positively related, such
that going from one payimg drug in the therapeutic class to eleven paying drugs in the
class would raise the percent of branded expenditure affected by payments by 17 percentage
points.

Given how often multiple drugs are engaged in competing payments in a therapeutic
class, we find, perhaps surprisingly, that 81% of our physician x drug observations are paid
by only one drug in the therapeutic class. We propose in the next section an empirical
specification to test how payments from a second drug in the therapeutic class affect the
physician’s behavior. However, we exclude cases where a physician is paid by more than two
drugs in a therapeutic class, which amounta to about six percent of all observations.

4 How Do Payments Affect Prescribing?

4.1 Empirical Strategy

Because drug firras commonly moniter physicians’ prescribing and specifically target high-
volume physicians for payments, the cross-sectional correlation between a physician’s pay-
nents and her patients’ expenditures overstates the irapact of payments on prescribing. To
address this targeting of payments to physicians, we use a difference-in-differences design
that, compares outcomes for physicians who are paid to those who are not paid, before and
after the payment. This research design relies upon a physician’s changes over time and
so is able to account for time-invariant characteristics of physicians that lead a drug firm
to target them for payments. For physician p, drug d, and year-month t, we estimate the
event-study specification

Und s, PresPaidpaBy + ,, PresPaidOth yates - Opa te Oue t epee (1)
ppb | ree]

Our outcomes, tae, are total expenditures, number of patients, or total days supply for a
physician-drug-month. PresPaidpg indicates whether the physician will be paid for drug d at
some point in our sample, and r denotes the time period relative to the time the physician
is paid (if ever). PresPoidOth,, indicates whether the physician will be paid for a drug d’
in the same therapeutic class as d (a conrpetitor) at some point in our sample. Including
this variable both controls for the effects of a competitor payment and allows us to directly

MWe use a linear model to represent a pbhysician’s supply of each drug in each month. While a discrete-
choice model such as logit might be appropriate for a patient's choice of drugs, the typical physician is
prescribing five different branded drugs in a therapeutic class over the time period, and even in a single
month a physician is prescribing an average of 1.8 distinct branded drugs in each therapeutic clasa.

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observe their time pattern, measured by the & coefficients. We estimate 6, and a, for every
event period and report a 25.month window around the time of payment in the figures.
Because we have prescribing information beginning in January 2013 but only use payments
that take place in January 2014 or later, we observe 12 pre-event months for all physician-
drug pairs that are paid. We normalize @_, and .., to zero, making the month preceding
the payment the reference period.

The fixed effect 6,4 allows a different intercept for each combination of physician and
drug. The drug x year-month fixed effect dg adjusts for changes in each drugs’ prescribing
over time, including the overall effects of direct-to-consumer advertising. Both the paid and
the never-paid physician x drugs contribute to this fixed effect. With these sets of fixed
effects, we are effectively running the event-study specifications separately for each drng and
then aggregating across the different drugs. Finally, we cluster errors at the physician level,
which accounts for serial autocorrelation in the errors as well as the possibility of correlation.
in a physician’s behavior across drugs.

We weight observations by the physician’s average number of patients in drug d’s thera-
peutic class. By weighting by the number of patients, our coefficients are representative of
patients’ experiences rather than physicians’. We use the average number of patients across
all periods because we find that the treatment affects the number of patients directly. And
finally, we use the average number of patients in the entire therapeutic class because we
wish to include with positive weight cases where a physician is paid for a drug but never
prescribes it.

In order to provide a summary of the impact of payments on outcomes over different
time periods, we also report linear combinations of 6, and a,. Because we observe dynamic
treatment effects, we report two estimates, reporting the average coefficient and ite standard
error in months 0 through 5 as well as months 6 through 12.

We make three edits to our dataset prior to estimation. As discussed, we drop physician-
drug pairs that receive a payment in 2018; this gives us twelve pre-period months for all
payments. We drop physician-drug pairs where the physician is paid by more than three
drugs in the therapeutic class. Finally, to reduce the computational burden of the analysis,
we conduct our main analyses using a random 50 percent sample of physicians, retaining all
of their prescribing and payment information. ‘These changes result in 494,525 physicians
and 190,511,352 physician x drug x month observations.

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4.2 Effect of Payments on Prescribing

Figure 3 presents the event study results from equation (1) where the dependent variable ig
the total expenditure by a physician’s patients on a drug in a given month. Shortly after
the payment, expenditures begin to increase, remain elevated, and then decline a bit. This
pattern is consistent with empirical findings that physicians forget advertising over time
(lizuka and Jin, 2005). On average, expenditures are approximately $9 greater per month
in the year following the payment. Relative to average monthly expenditures, $238, this
is slightly less than a 4 percent increase. There is no obvious trend in the twelve months
leading up to the payment that would suggest our estimated increase in expenclitures is due
to differential underlying trends.

Our estimated impact is considerably smaller than some recent findings. Grennan et al.
(2018) study how payments for statins affect cardiologists’ prescribing and find that payments
increase prescribing by 73 percent. Shapiro (2018a) studies prescribing of an antipsychotic,
Seroquel, between 2001 and 2006 and finds that a detailing visit increases prescribing by
14 percent in the following twelve months, Agha and Zeltzer (2019) study anticoagulants
(“blood thinners”) and find that small payments increase prescribing by 10 percent while
large payments increase prescribing by 65 percent. Although a full reconciliation of results
is beyond the scope of this article, some portion of the differences are likely due to the
apecific therapeutic classes studied {all classes with payments vs. a subset of classes with
payments), differences in the variation exploited by the empirical designs, and differences in
the effects of detailing over time. We further discuss the implied magnitude and estimate a
return-on-investment in Section 4.4,

‘To assess whether our estimated increases in expenditures are due to more patients being
pul on a drug, we estimate our event study specification with the physician's number of
patients as the dependent variable and present the results in Figure 4. As with expenditures,
there is no systematic differential trend prior to the payment. Upon receiving the payment,
the number of patients increases immediately, remains elevated for approximately six months,
and then returns to pre-payment levels; Mizik and Jacobson (2004) find a similar, short-lived.
increase following detailing visits. The number of patients does increase shortly after the
payment, although the magnitude is relatively small. We note that an increase in the number
of patients taking the drug could arise both from physicians deciding to start a new patient
on the drug after an encounter with the drug firm or physicians differentially continuing
current patients on the drug (instead of switching to another drug).

Table 2 summarizes the event study estimates. As seen in column (1), expenditures
increase by $5.67 on average in the first six months after a payment; in months 6 - 12,
expenditures are an average of $12.47 greater per month than in the month prior to the

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payment. In column (2), we present analogous results for the number of patients. Payments
increase the mumber of patients significantly in months 0-5 by 0.016 patient, on average
(about 1.8%), but the effect is not significant in months 6-12.

‘fo further examine the margins of adjustment, we examine the impact of payments
on the total days supplied of the drug by the physician in the month (results provided in
Appendix Figure A.J and Appendix Table A.1). We find that the days supplied increases
hy L4 percent after a payment. Since expenditure increases by 4 percent and expenditure
is the product of days supply and expenditure per day, our findings imply increases in the
expenditure per day. A potential explanation is that some individuals are using newer or
stronger formulations of the drug that have a higher price.

Whereas most previous studies on the impacts of payments have only had information
on the detailing or drug samples for a very small subset of drugs (usually one to three),
our data contain this information for all detailed drugs. This allows us to not only control
for other firms’ activities, but to also directly estimate the impact of a being paid for both
a dig and its competitor. Figure 5 presents the event study estimates that show how
prescribing changes when a physician who hag been paid for one firm’s drug also receives a
payment from the drug’s competitor. Figure 5a suggesta that expenditures for drug @ fall
after the physician gets a second payment for a competing drug d’ in the therapeutic clase,
although the individual event study estimates are somewhat noisy. In the first 6 months
after the cornpetitor’s payment, expenditures on drug d fall by a (statistically insignificant)
$1.91 per month on. average (see Table 3), In the following 6 months, expenditures on drug d
decrease significantly by $10.53 on average. Figure 5b provides the corresponding figure for
the number of patients as the dependent variable. There appears to be a somewhat steady
downward trend in the nurober of patients preceding a competing firm’s payment and this
trend continues after the payment is made. We conclude that payments by other firms do
not appear to have large, lasting impacts on the number of patients taking drug d.

4.3 Heterogeneity of Payment Impact

Different types of payments might have different impacta on physicians’ choices. If payments
are part of a “quid pro quo” im which physicians exchange prescribing volume for a payout,
impacts would likely be strongest for the high-value payments and small for very low-dollar
payments. As we saw im Section 2, there is tremendous heterogeneity in the dollar value of

the payment.
In Figures 6a to 6d, we present the event-study results for payments below $500 and

i8We cannot test this finding directly because we cannot calculate an inmplied expenditure per day for
physicien-drug combinations with zero prescribing in a month.

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payments of at least $500. The results for payments less than $500 closely mirror those for
payments overall. Given that the vast majority of payments have a small dollar value, the
results for payments of at least $500 are considerably more noisy. There appears to be a
slight upward trend in the pre-payment period and little increase in. expenditures until eight
months after the payment. We summarize the event-study figures by grouping the estimates
from months 0-5 and 6-12; these are presented in Table 4.

We also present results for payments under $20, $20-$49, $50-$99, and $100-$499 in Ap-
pendix Figure A.2. Generally, the payments below $50 appear to be driving the results seen
in the under $500 figure. ‘The fact that we observe meaningful changes in prescribing even
for these small payments, which are trivial relative to the average Income of a physician, sug-
gests that a simple “quid pro quo” model of physician-pharmaceutical company interactions

- ig unsatisfying in describing the purpose and impact of these payments.

If prestigious (and lucrative) speaking or consulting opportunities are used aa rewards to
encourage high levels of preseribing, then these types of payments might have very diflerent
impacts on expenditures. Figure 7 shows the event-study results for payments for food (7a
and 7c) and for other relationships such as consulting or speaking at a continuing medical
education event (7b and 7d). The estimates are summarized in Table 4. We show the
estimates for food because it is by far the most common. type of payment and provides
a baseline against which we can compare the estimates for other activities (see Figure 1).
Food payments appear to closely resemble our overall estimates with a small increase in the
number of patients taking the drug and a larger increase in expenditures. However, other
types of payments do not appeat to have clear impacts on either the number of patients
or expenditures, although our conclusions are limited by the large size of the confidence
intervals. Figure 7b and 7d appear to show somewhat elevated expenditures in the months
prior to a promotional payment (though for expenditure we can not reject that the individual
estimates are different from zero at conventional levels). That might suggest that firms are
using promotional payments as rewards for past prescribing. However, that strategy seems
unlikely since these payments do not appear to increase expenditures going forward at all.

We might also think that a payment has different impacts depending on the underly-
ing competitive structure of the therapeutic class. For example, in classes with very few
branded drugs, a payment might be more effective than in a class where there are many
different drugs being promoted. In our data, among therapeutic classes with at least one
promoted drug, the median number of drugs being promoted is five. Figure 8 show the
estimated impacts of a payment in classes with five or fewer promoted drugs (“low com~
petition”). Again, we see increases in expenditures following a payment. In the first year
after a payment, expenditures increased by an average of approximately $25 per month (see

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Table 4). Given the $206 average monthly expenditure in these classes, this translates to a
12 percent increase. Because our overall estimate was a 4 percent increase in expenditures,
this suggests a potentially important role for the competitive structure of the class in deter-
mining the impacts of payments. This may, in part, explain differences between our rain
results that use data on drugs in all therapeutic classes and other papers that focus only on
classes with relatively few detailed drugs; e.g., Grennan et al. (2018). In contrast, in high
competition classes (those with more than 5 crags making payments), we observe that firms
make payments to prescribers who were cutting back on that firm’s drug even. prior to the
payment (reported in Appendix Figure A.3), suggesting that in these classes, firms may be
attempting to stem losses rather than spur new revenue. However, the pre-existing trend
observed in these high competition classes makes the causal interpretation of the event study
coefficients more difficult.

4.4 Gauging the Magnitude of our Estimates

To gauge the magnitude of our main estimates, we estimate a firm’s return on investrnient
for its payments. The following calculation should be treated as speculative because there
are many important determinants excluded from the analysis or not measured precisely.

Because the vast majority of the payments in our data are small, they are likely made in
the context of a detailing visit. Given that, the relevant measure of marginal costs should
include the sales representative's time cost, travel costs, and the dollar cost of the payment."
Liu et al. (2015) presents a range of estimates related to the sales representative's costa. Using
their structural model, they estimate that the marginal cost of a visit is $195.7 Based on
the Open Payments data, the average payment on these visita is approximately $18.8 Then
a. rough estimate of the marginal cost of a single detailing visit is $213.7

Ty agtimate the increased expenditures from a detailing visit, we must scale our estimates
to account for multiple relevant factors. Medicare Part D accounts for approximately 30
percent of retail prescription expenditures in the United States (Kaiser Family Foundation,
2019). In addition, our data. ouly include 20 percent of Part D patients. Together, these

léfJere we abstract away from issues of divisibility such as whether the firm would need to hire an addi-
tional sales representative. Instead, we assume that we could simply increase an existing sales representative's
wages without any negotiation or administrative costa.

phe Lin et al. (2015) estimate is $153 based on date from 2002-2004; we assume their estimate is in
2003 dollars and convert it to 2015 dollars to arrive at $195.

Consulting, speaking at medical events, research, and other payments unlikely to be associated with a
standard detailing visit have been excluded from this average.

\9phiy estimate of the marginal cost of a single detailing visit is likely an underestimate of the average
cost. Descriptive statistics from Pew Charitable ‘Trust (2013) suggest that the average cost of a detailing
visit might be as much as an order of magnitude larger.

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factors suggest we need to scale up our estimates"? On the other hand, our measure of
expenditures is not the expenditures that the pharmaceutical firms get to keep. Rebates
are common and in 2016 accounted for 22 percent of raw Part D drug spending measures
(Johnson et al., 2018). Consequently, we scale our estimates down by 22 percent.

In order to facilitate our calculation, we must specify a time period over which the costs
and benefits are realized. For simplicity, we assume that the relevant time frame is one
year. Our estimates indicate that a payment increases Part D expenditures among the 20%
sample by $121 in the first year after the payment.”! After applying the scaling discussed
previously, this suggests that expenditures to the pharmaceutical firm increased by $1,573.
Conditional on receiving a payment, physicians receive 2.8 payments in the following twelve
months (including the original payment). A rough, back-of-the-envelope calculation suggests
that the return on investinent (ROI) is approximately 164 percent. Although this might seem
quite large, it is smaller than available estimates in the literature which range from 200 -
1,700 percent (Narayanan et al., 2004; Schwartz and Woloshin, 2019). We also note that the
increase in expenditure we find (about 4 percent) is smaller than that found by most previous
research (e.g. 10 percent by Agha and Zeltzer (2019), 14 percent by Shapiro (2018a), or 73
percent by Grennan et al. (2018)) and so implies a smaller ROT overall than their class- or
drug-specific estimates,

There ave factors that would cause this estimate to be an underestimate, as well as
factors that would cause it to be an overestimate. To the degree that physicians’ behaviors
are affected for longer than 12 months, we will underestimate the additional expenditures the
firm receives in response to the detailing visit, Agha and Zeltzer (2019) find that spillovers
to non-paid physicians via physician social networks contribute one-quarter of the overall
impact of payments in. the blood-thinner class; if this effect holds for all classes, the ROI we
ealeulate would be an underestimate. On the other hand, it is possible that the marginal
treatment effect of the next physician to be detailed would he lower than our estimates. If
go, our ROI comparing estimated benefits to the marginal cost of another detailing visit will
be an overestimate.

20 More specifically, if the impact on expenditures is the same for a physician's Medicare and non-Medicare
patients, we should scale our estimate up by 10/3. To secount for the fact our date are a 20 percent random
sample of Part D patients, we scale up by a factor of 5.

21-This ig calculated by multiplying the estimates in Table 2 by the number of months covered in cach
period (Le., $5.67 x 6 months + $12.47 x 7 months). Because the first month is only partially treated, this
time period representa sorawhere between 12 and 1$ months.

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5 How to Payments Affect Drug Quality?

5.1 Payments and the Efficacy of Prescribed Drugs

Industry representatives have claimed that regular contact with drug firm representatives
helps to keep physicians up to date on the availability and quality of new drugs. If these
interactions do result in physicians having better information about which drugs are most
efficacious, they may lead to an overall improvement in the quality of drugs prescribed.
Alternatively, if the payments raislead physicians into incorrectly assessing the quality of
drugs available, we may find a negative relationship between. payment receipt and drug
quality.

We evaluate whether payments lead physicians to choose more efficacious drugs using 4
novel dataset on drug efficacy. Together with an MD/PhD student, we identified three mar
jor therapeutic classes where there is a common. and well-defined clinical endpoint for drug
therapy. For each therapeutic class, we obtained a unidimensional efficacy measurement for
every molecule (including generics) from the medical literature. Within the drug class of
statins, ous measure of efficacy for each drug is the percent reduction in LDL cholesterol
associated with use of that drug observed in clinical trials; for ARBs (Angiotensin [1 Re-
ceptor Blockers), the outcome is the reduction in systolic blood pressure; ancl for atypical
antipsychotics, the outcome is the reduction in the Positive and Negative Syndrome Seale.

This measure of efficacy is imperfect along a oumber of dimensions. First, it is a single
measure of efficacy for all patients and yet there is almost certainly heterogeneity in a given
drug's efficacy for different patients.” Because efficacy will be our dependent variable, this
could bias our estimates if physicians who receive payments differentially increase use of the
paid drug in patients for whom si ig least effective, Second, bad clinical trial results might be
censored by pharmaceutical firms (Turner et al., 9008). Tf firms thet pay physicians censor
their clinical trial results more (or less) than firms that do not pay physicians, our estimates
will be biased.

Despite these drawhacks, our measures lergely capture efficacy as viewed by physicians.
Sullivan et al. (2014) show that when asked about drug efficacy, physicians seek information
about clinical studies. In addition, a 9019 survey of more than 250 physicians found that
physicians want more information about clinical studies and evidence-based medicine from.
their interactions with pharmaceutical sales representatives (Publicis Touchpoint Solutions,
2012). In 2011, 4 nationally representative survey of more than 500 physicians found that in
addition to a physician’s clinical knowledge and experience, one of the most important factors

2pligh-elficacy drugs may still have adverse effecta on patients. Alpert et al. (2019) show the relationship
between Oxycontin detailing and subsequent overdose deaths.

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in drug prescribing decisions was clinical practice guidelines, which are based on clinical trial
results (KRCO Research, 2011). Together, these studies suggest that physicians view clinical
trial results as important indicators of efficacy and actively geek this information from drug
firms’ representatives.

We adjust our empirical strategy to evaluate how payments aifect the efficacy of pre-
scribed drugs." In particular, we allow payments to affect the physician’s decision among
both branded and generic drugs. ‘The physician's generic choice could be affected either by
more information about generic molecules or by increased valuation of efficacy relative to
other drug characteristics. Thus, our key dependent variable is a weighted average af the
efficacy of drugs the physician prescribes in the class (including generics), where the weights
are the days supply of that drug by that. physician in that month. This measure characterizes
the overall efficacy of a physician’s prescribing in a therapeutic class.

Since we are interested in the overall efficacy of prescribing in a therapeutic class, we
use as our key independent variable an indicator for whether the physician has received
a payment from any drug in the therapeutic class.2* We find that 86% of antipsychotics
prescribing arises from prescribers who have received a payment from at least one of the
drugs in that class, The corresponding figures for statins and ARBs are 21% and 16%
respectively.”

Our estimation equation is given by

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rgb

where efficacy. 18 OUT measure of eficacy, DocPaid,, indicates whether physician p will be
paid by some drug in therapeutic class c at some point in our sample, r denotes the time
period relative to the time the physician is paid (if ever), dp. is a set of fixed effects for each

combination of physician and therapeutic class, 6g is a set of class by month fixed effects,
and €p.¢ 18 a random. error term. We normalize £.., to zero, making the month preceding the

We cannot use our original model, Equation (1), for this question because efficacy is a time-invariant
property of a molecule. In Appendix Figure A.4 and ‘Loble A.2, we evaluate the invypact of payments on
expenditure and. the number of patients using the three therapeutic classes where we have efficacy measures.
We confirm that overall, physicians respond to payments in these TCs much as they do in the general case —
by increasing total expenditure on the paying drug and increasing the number of patients taking the paying
drng.

241, the statin and ART classes, most of the payments over the time period arise from Crestor and
Benicar, respectively. In the antipsychotics class, there are six dvugs actively making payments over the
time period.

2 As in our main equation, only physicians who receive a first payment in 2014 or 2015 contribute to
identification. As in the overall sample, about half of the physicians who are paid at all are paid for the first
thne in 2014 or 2015.

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payment the reference period. With these sets of fixed effects, we are effectively running the
event-study specifications separately for each therapeutic clasa and then aggregating across
the different classes. ‘To create a measure of efficacy comparable across classes, we standardize
each therapeutic class’s efficacy measure to a 2-Score and interpret our point estimates, B,, as
standard deviation changes in the efficacy measure.2® In addition to estimating equation (2)
with all three classes, we also estimate the equation independently for each therapeutic class.
Because we need only focus on the three classes for which we have efficacy information, we
are able to estimate this model using the full dataset, rather than the 50% random sample
of physicians used in the expenditure analysis.

We present our main. event study results in Figure 9, with summary coefficients in Ap-
pendix Table A.3. Prior to the payment, there does not appear to be any differential trend
in efficacy. Immediately after the payment, there appears to be a small decline in efficacy
whieh ig sustained in the following twelve months. However, the econoniic magnitude is
extremely small. Based on these estimates, we can reject an average effect in the twelve
mouths following a payment any larger than a 0.01 standard deviation reduction in average
efficacy.

To explore whether there is important heterogeneity in these effects across our three
classes, we present the class-by-claas event study results in Figure A.5. In each case, the
estimates suggest that there were not large changes in average efficacy following a payment
from a pharmaceutical firm. Although there is some evidence of a pre-trend in two of the
figures, there is no large deviation from that trend following the payment that might suggest
a reduction in efficacy.

Overall, we do not find evidence that payments lead to economically large reductions in
the average quality of drugs that patients are prescribed. Nor do we find meaningful increases
in average quality following a payment. Alshough we can nof rule out the possibility that no
patients were put onto less (or more) effective drugs, we can rule out large average negative
(or positive) effects of payments on the quality of prescribing.

5.2 Payments and the Transition to Generics

In Part D, patients typically pay higher out-of-pocket prices for a branded drug when there
exists a generic equivalent; therefore, physicians acting as good agents for their patients
should transition patients to generics as soon as possible. At the same time, patent expiries
represent substantial revenue losses to branded drug firmns. Finding that physicians who
receive payments from a drug firm disproportionately keep patients on the firm’s brands

28More specifically, for the therapeutic class, we subtract the average efBeacy (weighted by totel days
supply in Part D) of drugs within that class and then divide by the standard deviation of that measure.

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would be evidence that physicians were privileging the drug firms’ interests over their pa-
tients.?’ Previous research using distance to a drug firm’s headquarters as an instrument for
a physician’s detailing exposure found that detailing causes physicians to shift away from
generic drugs and. towards branded versions of the same molecule (Engelberg et al., 2014).
Such behavior would be clear evidence of payments reducing patient welfare and increasing
public costs with no correaponding benefit,

We choose five major drugs that lost patent protection and faced new generic competition
over our sample period: Abilify, Namenda, Celebrex, Evista, and Zyvox. Details of the five
drugs are recorded in Table 5. These five drugs alone accounted for 5.5 percent of Medicare
Part D expenditure in 2013, and all five were making payments to physicians over the
time period. We use the full sample of physicians for this analysis because we only need
to incorporate information about these five drags and their competitors. As reported in
Huckfeldt and Knittel (2011), we confirm that drug firms dramatically reduce the number
of physicians receiving payments prior to generic entry”8

We calculate the generic efficiency rate for physicians who ever receive payments for the
branded version of the drug and those who never did in the first six months after the ouset of
generic competition. ‘The generic efficiency rate is the standard measure of the penetration
of generic drugs in a market and is siraply the ratio of the days supply from generic suppliers
and the total days supply of the molecule. Generic efficiency is zero prior to generic entry
and generally rises quickly as generic substitution takes place.

Figure 10 shows the generic efficiency rate over the first six months of generic competition
for the five case studies. For example, in panel (a), we see that the share of the days supplied
of aripiprazole that is generic rises sharply from 0 in April 2015, leveling out af about 70
percent six months later. Panels (b)-(e) show similar findings for the four other drugs which
lost patent protection during our sample. While we do not attempt to explain why generic
efficiency does not rise to one,*” it is clear that generic efficiency rises at least as quickly
among paid physicians as it does among physicians who were never paid. In four of five

“Physicians can override automatic substitutions of a generic for the name-brand drug by marking
the prescription “Dispense as Written” (see Hellerstein, 1998). Patients can. also elect to override generic
aubsitution at the pharmacy.

23'Phe wuraber of payments over the entire sample period is reported for all five drugs in Appendix Figure
A.6. For Celebrex, Evista, and Zyvox, payments drop sharply to zero right around the time of generic entry.
For Namenda, which as discussed below wag trying to extend its drug line via Namenda XR, payrnonta for
original Namenda fell to essentially zero about a year earlier. While payments for Abilify fall by about three-
quarters, they do not reach zero over the sample period. Over the sample period Otsuka Pharmaceuticals
was promoting a once-monthly injectable formulation of aripiprazole, Abilify Maintena, and it is possible
that some encounters related to Abilify Maintena were deseribed as Abilify in the Open Payments dataset.

MGeneric efficiency may remain below one if either patients or physicians do cot view the generie sa
perfectly substitutable.

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cases, paid physicians transition more quickly than physicians who were never paid.

A drug firm facing generic entry will sometimes use direct-to-physician marketing to sup-
port a “line extension” strategy by which they beavily promote 4 newly-introduced distinct
drug forraulation just prior to generic entry in the original drug. Individuals who are taking
the new formulation are not subject to automatic generic gubstitution at the pharmacy. For
example, Actavis® introduced an extended-release formulation of Namenda (Namenda XR)
prior to the expiry of the original Namenda (Capati and Kesselheim, 2016). Namenda XR.
needed to be taken only once per day, while the original forrnulation needed to be taken twice
per day.*! While promotional activities were greatly reduced for original Namenda over our
sample period, leading to a low share of detailed physicians at expiry, Actavis detailed heav-
ily for Namenda XR. More than 11% of Namenda XR. physicians received a payment related
to the drug over the sample period.

We provide suggestive evidence on the line extension strategy for Namenda XR. in Figure
11. We add the days supply of Namenda AR to the denominator of the generic efficiency
rate and report the share of all memantine prescribing that is generic memantine (Figure
lla) and the share that is Namenda XR (Figure 1b). These figures show that those who
were ever paid for Narmnenda or Namenda XB indeed prescribe more Namenda XR, and also
prescribe less generic memantine. By the end of 2015, the prescribing of those who were never
paid for Namenda. or Namenda XB. is approximately 6% branded Namenda, 37% Nameuda
XR, and 57% generic menantine. ‘Those who were paid for Namenda or Namenda AR. are
actually prescribing less branded Namenda (3%), but are prescribing much more Namenda
XR. (64%).

This analysis does not use the physician fixed effects we used in our other analyses to ac-
count for the targeting of payments to physicians. However, Figure 11 does not compare the
overall prescribing volume of physicians who receive payments to those that do not; instead,
the figure shows how the composition of prescribing varies among three potential forme (orig-
inal brand, generic, and extended release brand). The higher prescribing of Namenda *R.
among those who receive related payments could only be attributable to selection if Actavis
targeted physicians with an especially high preference for the convenience of a once-daily
formulation. ‘Thus, we conclude that those who were ever paid for Namenda or Namenda
XR were more likely to prescribe extended formulations, consistent with the line extension

30forast Pharmaceuticals was the original maker of Namenda and introduced Namenda XR in 2014.
Actavis acquired Forest Pharmaceuticals later that year. For simplicity, we refer to Actavis, since they were
the patent holder at the thne of memantine generic entry.

31 Ag noted, there was also an extended-release version of Abilify, Abilify Maintena. However, a once-
monthly injectable formulation does represent a distinct advantage over an oral daily formulation for a drug
where adherence ia a significant challenge. Consequently, we focus our analysis on Namenda XR which still
required daily dosing.

a3

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strategy.

6 Conclusion

Activists who favor limiting physician and pharmaceutical industry interactions character-
ize these relationships as “bribes and kickbacks,” while industry advocates simultaneously
describe such interactions as educational tools that benefit patients. Our analysis in this
papers suggests neither characterization is wholly accurate.

Using detailed information on the timing of payments and accounting for the selection
of payments to physicians, we find that physicians who are paid by a drug firm have similar
prescribing trends to unpaid physicians prior to the payment, but increase the number of
patients and expenditures on the marketed drug after the payment occurs. This increase
in drug usage that occurs after a payment is substantial, representing a 4% increase in
expenditures. If a physician receiving a payment for one drug also receives a payment for a
corapeting drug, it partially offsets the estimated increase.

We examine whether these expenditure changes are accompanied by reductions in drug
quality. First, for three large classes of drugs, we collected data from the medical literature
on a unidemensional quality measure, such as the reduction in LDL cholesterol observed in.
clinical trials, for each drug. Using this efficacy measure, we find that drug firm interactions
reduce drug quality, but that this effect is very small. Our confidence intervals allow us to
rule out reductions in quality larger than 1/100th of a standard deviation, indicating that
such quality changes ave unlikely to be clinically meaningful. We also exarnine whether
physicians who are paid by a pharmaceutical company keep their patients on the branded
version of a molecule even when a generic version becomes available. We find no evidence
that paid physicians transition their patients to generics more slowly, although we do see
that they are more likely to put their patients on (branded) extended release versions of a
molecule when a patent expiry occurs for the original version.

Overall, our results suggest that costs do increase as a result of marketing encounters
between drug firms and physicians. At the same time, our results on drug quality are mixed;
we do not find clear evidence that such payments are harmful to patients, only that they do
not seem to be obviously helpful. The extent to which physician and drug firm interactions
are actually welfare reducing represents a potentially useful area for future research.

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Figure 1: Summary Statistics: Distribution of Payments by Type and Amount

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Other

Percent of Payments or of Dollar Value of Payments

N Payments di Value N Payments

‘This igure depicts the share of payments that are an in-kind transfer of food or beverage {first bar} vs. all
other payment types. The second bar weights the payments by the dollar value, The third bar shows the
share of payments in each of four size categories, and the fourth ber shows the same shares when weighted

by dollar value.

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‘Table 1: Summary Statistics

% of % of 7 OF ab
Dp gs % of Part D Expenditure Prescribing reser Ong
rug indication Er . . ve Physicians
xpenditure Affected by Physicians . vat.
Payments lever Paid First Paid in

14 or 15

All Drugs In Analytic Dataset 63 al 22 14
Lantus Diabetes 3.3 24 16 9
Harvoni Hep C 2.3 18 23 23
Crestor High Cholesterol 2.3 23 18 9
Advair Asthma/COPD 2.2 10 10 10
Spiriva Asthma/COPD 1.9 26 21 1
Abilify Mental ITlness 1.9 28 24 8
Januvia Diabetes 1.6 19 at 15
Sovaldi Hep C 1.3 21 21 9
Lyrica Nerve Pain 13 25 18 9
Novolog Diabetes 1.2 27 27 lV
Levemir Diabetes L2 37 37 al
Huraira Immune Conds Ll 45 66 27
Namenda Dementia Lh 2 1 0
Enbrel bamune Conds Li 39 80 19
Xarelto Blood Clots 1 44. 45 24
Zetia. High Cholesterol L 16 18 13
Gleevec Cancer 9 6 13 5
Symbicort. Asthma/COPD 9 30 28 15
Oxycontin Pain & 23 21 12
Humalog Tiabetes 8 26 29 18

This table describes the prevalence of payments in Part D overall and for the twenty drugs with the largest total,

expenditure over the sample period. Th
describes the share of expenditure where

6 third coluron describes the share of Part D expenditure. The next column.
the physician has received a payment for the drug at the tine of preseribing.

The next column describes the share of those who ever prescribe the drug who ever receive a payment for the drug,
Finally, we report the share of prescribing physicians who ore first paid in 2014 or 2015, since these physicians identily

cur estimates given fixed effects.

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Figure 2: Summary Statistics: Share of Prescribing Affected by Payments and Number of
Paying Products in the Therapeutic Class

O

Share of Prescribing Affected by Payments

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Number of Drugs in TC Making Paymenis

The x-axia in this figure counta the number of drugs in each therapeutic class that are making payments to
any prescriber, The y-axis in this Rgure measures the average share of prescribing of those droge that is
affected by payments (i.e, where @ prescriber hag received a payment prior to prescribing). The size of the
marker is the total expenditure represented by the observation. The least squares line (weighted by
expenditure) and ite 96% CT (shaded area) are also reported.

32
Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 34 of 53. PagelD #: 505764

Figure 3: Impact of a Payment on Drug Expenditure

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Coefficients and 95% confidence intervals from estimation of Equation 1 are presented. The dependent
variable is the total expenditure by € physician's patients on a drug in a given month. The omitted time
period is the month prior to the payment.

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Case: 1:17-md-02804-DAP Doc #. 3555-23 Filed: 11/13/20 35 of 53. PagelD #: 505765

Figure 4: Impact of a Payment on Number of Patients Taking the Drug

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Hottie B76 5432101234567 8 9 101112

Coefficients and 95% confidence intervals from estimation of Equation 1 are presented. The dependent
variable is the physician's number of patients filling a prescription for a drug in & given month. The
omitted time period is the month prior to the payment.

34
Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 36 of 53. PagelD #: 505766

Table 2: Estimated Impacts of Payments

Expenditure Number of Patients
(1) (2)

Months 0-5 §.677* o.016""*

(2.42) (0.004)
Months 6 - 12 12.47%" 0.005

(3.68) (0.008)
Mean dep. var. $238 1.26
No. physicians 494,525 494,525
Observations 190,511,352 190,511,362

Dependent variable is given in column heading. Estimates are linear combinations of event study estimates
presented in Figures 3 and 4, ‘The month prior to the payment is the reference group. Starulard errors are
clustered by physician.

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Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 37 of 53. PagelD #: 505767

Figure 5: Impact of a Payment by Competing Drug

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fa} Expenditure ‘(b) Number of Patients

"This figure reports the iapact on drug donteomes of recetving a payment from « competing drug 2 in the
therapeutic class, represented. by the e coeficienta in Equation 1. The dependent variables are total
expenditure on ding ¢ (Panel a) and number of patients taking drug d (Panel b). ‘The x-axis measures the
months before and after the payment from drug #. Esthnated coefficients and 95% confidence intervals are
presented, The omitted time period is the month prior to the payment.

Table 3: Estimated Impacts on Drug d of a Competing Drug’s Payment

Expenditure Nuraber of Patients
(4) (2)

Months 0 ~ 5 “AGL “(3,005

(3.52) (0.006)
Months 6 - 12 ~10.59** -0,015

(5.30) (0.009)
Mean dep. var. $238 1,25
No. physicians 494,525 494,525
Observations 190,511,352 190,511,352

Dependent variable is given in column heading. Estimates are linear corubinations of event study estimates
presented in Figure 5. The month prior to the payment is the reference group. Standard errors are clustered

by physician.

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Figure 6: Impact of a Payment on Drug Expenditure by Payment Size

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(c) Expenditures, Payment 2 $500 (d) # Patients, Payment 2 $800

Coofficients and 95% confidence intervals from, the estimation of Equation 1 are presented. The dependent
variable is the total expenditure by a physician's patients on a drug in & given month. The omitted time
period is the month prior to the payment. Estimates based on payments that were leas than 2600 are
presented in panel (a); estimates based on payments that were at least 500 are presented in panel (b).

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Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 39 of 53. PagelD #: 505769

Figure 7: Impact of a Payment by Payment Type

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(a) Impact of Food Payment on Expenditure (b) Impact of Other Payment on Expenditure

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(c} Impact of Food Payment on # Patients (d) Impact of Other Payment on # Patients

Coefficients and 95% confidence intervals from the estimation of Equation 1 are presented. The dependent
variable ig the total expenditure (panels 4 and b} or mumber of patients (panels ¢ and d) for a
physician-drug-month. ‘The omitted time period is the month prior to the payment. Panels a and ¢ report
estimates hased on food-related payments. Panels b and d report estimates based on all other payments
axcluding food, primarily speaking at continuing ynodical education events, consulting, and travel.

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Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 40 of 53. PagelD #: 505770

Figure 8: Impact of a Payment in Low Competition Classes

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(a) Expenditure (b) Number of Patients

Estimated coefficients and 95% canfidence intervals are presented. The dependent. variable is the total
expenditure by a physician's patients on a drug in a given month. The omitied time period is the month
prior to the payment. Estimates based on payments made in therepeutic classes where few (five or fewer)
other products axe marketed.

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Table 4: Heterogeneity in Estimated Impacts of Payments

Expenditure Number of
Patients
(1) (2)
Panel A: Payment < 3500
Months 0 - 5 5.88** 0.016**
(2.39) (0.004)
Months 6 - 12 1Lis* 9.005
(3.66) (0.008)
Mean dep. var. $236 1.24
Panel B: Payment > $500
Months 0 - 5 “22.99 9.03
(82.57) (0.06)
Months 6 - 12 242.10*** 0.05
(91.60) (0.08)
Mean dep. var. $233 1.31
Panel C: Food payment
Months 0 - 5 6,037" 0.016***
(2.47) (0.008)
Months 6 - 12 11.037" 0.005
(3.78) (0.008)
Mean dep. var. $238 1.4
Panel D: Other payment
Months 0 - 5 -15.87 0.005
(12.54) (6.024)
Months 6 - 12 “Bd ~0.028
(16.07) (0.024)
Mean dep. var. $236 1.29
Panel Ez Low competition class (5 or fewer paying drugs)
Months 0 - 5 16.46*** 0.030"**
(4.28) (0.008)
Months 6 - 12 32.88°"" 0.026***
(5.13) (0.014)
Mean dep. var. $206.18 1.76

Dependent variable is given in column heading. Estimates are lineat combinations of event study estimates

presented Figures 6, 7, and &.
Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 42 of 53. PagelD #: 505772

Figure 9: Impact of a Payment on Average Efficacy

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Exstirnated coefficients and 95% confidence intervals are presented. The dependent variable is the
standardized efficacy measure for a physician in a given therapeutic class and month. The omitted Gime
period is the month prior to the payment.

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Case: 1:17-md-02804-DAP Doc #: 3555-23 Filed: 11/13/20 43 of 53. PagelD #: 505773

Table 5: Generic Entry Case Studies

Brand Molecule Drag Indication % of 2013 Part D % Physicians Generic
Name Maker Expenditure Ever Paid Onset
Ability aripiprazole Otsuka. Mental Umess 2.2 18.3 2015m4
Namenda memantine Actavis Demontia L7 14 2015m6
Celebrex celecoxib PAizer Pain 1.0 16.7 2014m11
Evista raloxifene EL Lilly Osteoporosis 0.5 1.0 20143
_Ayvox linezolid Pfizer Bacterial Infection 0.1 11.5 2015m5

This table provides details for the five case studies of generic entry evaluated in Section 5.2.

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Figure 10: Generic Efficiency in the First Six Months After Patent Expiry

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(a) Abilify (b) Namenda,
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Each figure shows the generic efficiency, measured as the share of days supply for each molecule supplied in
the generic form, for the first six moaths of generle cornpetition for each of five molecules experiencing
generic entry during the sample period. Physicians who previously received a payment for the branded
drug are represented by the solid green line; physicians who never received a. related payment are
represented by the dashed gold line. 95% confidence pytervals are reported in gray.

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Figure 11: Generic Memantine and Namenda XR as a Share of All Memantine

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( a) generis Meniantine (b) Namendath,
generic Mamantine? Ss amence + Namends AR genetic. Memantine+ Namends + Namenda 3%,

This figure reporta the distribution of all days supplied of the raolecule memantine across three formas:
branded Namenda, branded Namenda. XR, and generic memantine. Panel a reports the share of days of
generic memantine in the totel prescribing of the molecule, separately for physicians ever receiving &
payment for Namenda or Namenda XR. (solid green) and physicians who never receive such 8 payment
(dashed gold). Panel b reports the share of days of Namenda XR in the total days supplied of the
molecule, separately for paid and unpaid physicians. 95% confidence intervals are reported in gray.

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Appendices
A. Additional Figures and ‘Tables

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Figure A.1: Impact of a Payment or Competing Firm’s Payment on the Total Days Supplied

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(a) Impact of Own Payment (b) Impact of Competing Firm's Payment

Coefficients and 95% confidence intervals from the estimation of Equation 1 are presented. ‘The dependent
variable js the physician's total number of days of the drug supplied in « given month. The omitted time
period is the month prior to the payment.

Table A.l: Estimated Impacts of Payments on Total Days Supplied

Impact of Own Payment Impact of Rival Payment

Months 0 - 5 0.7437*" -0.356*
(0.194) (0.210)
Months 6 - 12 O75o*** -0.835***
(0,244) (0.285)
Mean dep. var. 53.42 53.42
No. physicians 494,525 494,525
Observations 196,511,382 190,511,352

Dependent variable is physician’s totel number of days of the drug aupplied in a given month.
Fetimates are linear combinations of event study estimates presented in Figure Ai. The month
prior to the payment is the reference group. Standard errors are clustered by physician.

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Figure A.2: Impact of a Payment on Drug Expenditure by Payment Value

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Coefficients and 95% confidence intervals from the estimation of Equation 1 ere presented. Bach panel
compares phygician-drug pairs receiving & payment in the stated range with those receiving no paytnent.
‘The dependent variable is the total expenditure by a physician’s patients on the drag in a month. The
omitted time period is the month prior to the payment.

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Figure A.3: Impact of a Payment on Expenditure and Patients: High Competition Classes

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(a) Expenditure (b) Number of Patients

Estimated coofficienta and 95% confidence intervals from the estimation of Equation 1 are presented are
presented for therapeutic claases with more than five drugs making payments over the sample period. The

dependent variable is the total expenditure of a physician's patients on 6 drug (panel (a)) and the sumber
of patients on that drag (panel (b)) in a given month. The omitted time period is the month, prior to the

payment.

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Figure A.4: Impacts of Payments on Expenditure and Patients: Therapeutic Classes for
Efficacy Analysis

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(a) Expenditure (b) Number of Patients

Coefficients and 95% confidence intervals from the estimation of Equation 1 are presented for the three
therapeutic classes used in the efficacy analysis in Section §.1. ‘The dependent variable is the total
expenditure of a physician’s patients on drag (panel (a)} and the aumber of patients on that drug {panel
(b)} in a given month. The omitted time period is the month prior to the payment.

Table A.2: Impacts of Payments on Expenditure and Patients: Therapeutic Classes for
Efficacy Analysis

pexpenditure Number of Patients
(1) (2)
Months 0 - 5 2.47" 0.02067**
(5.02) (0.009)
Months 6 - 12 22.51." 0,034"
(9.77) (0.013)
Mean dep. var. $249.3 1.90
No. physicians 228,261 228,261
Observations 20,932,596 20,932,596

Dependent variable is given in column heading, Estimates are linear combinations of event study estimates
presented in Figure Ad. The month prior to the payment is the reference group. Stardard errors ara
clustered by physician.

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Figure A.5: Impact of a Payment on Average Eficacy by Individual Therapeutic Class

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{a} Antipsychotics

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(c) Statins

Coefficients and 95%

confidence intervals from the estimation of

Equation 2 are presented independently

for each, therapeutic class. The dependent variable is the raw efficacy measure for each therapeutic class

(PANSS for antipsychotics,
omitted time

reduction in blood pressure for ARTs, and reduction in LDL for stating). The

period is the mouth prior to the payment.

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Table A.3: Impact of Payments on Drug Efficacy

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Overall Drug — Anti-psychotics Statins (% Angiotensin IT
Efficacy (Sted (Improvement Reduction in Receptor
Deviations) in PANSS) LDL} Blockers
(Reduction in
Systolic BP)
Months 0 - -0.0018 0.0022 ~O.0L72 ~0.0026
(0.0017) (0.0115) (0.0161) (0.0053)
Months 6 - 12 0.00627** 0.00027 ~0,0663*** ~0.0026
(0.0019) (0.0149) (0.0176) (0,0.0058}
Mean dep. var. 13.92 37 Ad 9,22
No. physicians 496,834 210,249 421,989 316,760
Cybservations 18,128,779 3,172,059 8,672,558 6,284,162

Dependent variable is given in column heading. Estimates are lear combinations of event study estimates
presented in Figure A.5. The month prior to the payment is the reference group. Stendard errors are

clustered by physician.

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Figure A.6: Number of Payments Around Patent Expiries

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Each figure shows the number of payments recorded for five molecules experiencing generic entry over the
full sample period, The vertical dashed line denotes the month of patent expiry.

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